          Case 2:14-cv-02097-JCM-BNW Document 74
                                              75 Filed 09/21/20
                                                       09/25/20 Page 1 of 4




1    Rene L. Valladares
     Federal Public Defender
2    Nevada State Bar No. 11479
3    *Jeremy C. Baron
     Assistant Federal Public Defender
4    District of Columbia Bar No. 1021801
     411 E. Bonneville Ave. Suite 250
5    Las Vegas, Nevada 89101
6    (702) 388-6577
     jeremy_baron@fd.org
7

8    *Attorney for Petitioner Elizabeth Carley

9

10
                          U NITED S TATES D ISTRICT C OURT
11                              D ISTRICT OF N EVADA
12   Elizabeth Carley, a/k/a Melissa Arias,

13                Petitioner,                     Case No. 2:14-cv-02097-JCM-BNW

14         v.                                     Unopposed motion for extension of
                                                  time in which to file opposition to
15   Jo Gentry, Warden, et al.,                   the State’s motion to dismiss

16                Respondents.                    (Third request)

17

18         Elizabeth Carley respectfully moves this Court for an extension of time of
19   thirty (30) days, from September 21, 2020, to and including October 21, 2020, to file
20   an opposition to the State’s motion to dismiss.
21

22

23

24

25

26

27
          Case 2:14-cv-02097-JCM-BNW Document 74
                                              75 Filed 09/21/20
                                                       09/25/20 Page 2 of 4




1                                         ARGUMENT
2          1.     The Court previously stayed this case so Ms. Carley could litigate her

3    unexhausted claims in state court, and the Court reopened the case on June 19, 2019.

4    ECF No. 55. The State filed another motion to dismiss on February 19, 2020. ECF

5    No. 65. The Federal Public Defender, District of Nevada, asked to be appointed to

6    the case, and the Court granted the request on April 10, 2020. ECF No. 70. The

7    counseled opposition to the State’s motion to dismiss is due on September 21, 2020.

8          2.     Counsel respectfully suggests additional time remains necessary to

9    properly prepare the opposition. Since the prior extension motions, counsel has re-

10   viewed the relevant files from this case that are currently in his possession. Those

11   records include files provided by prior counsel, as well as the records filed in the in-

12   stant case and in Ms. Carley’s corresponding state court proceedings. However, it

13   appears counsel’s current set of files may be missing some materials, such as police

14   records that on information and belief the prosecution would’ve disclosed to the de-

15   fense during the state court discovery process. Because counsel believes it’s necessary

16   to track down these records before preparing any pleadings in this case, additional

17   time is necessary to allow counsel to attempt to locate these materials and then pre-

18   pare and finalize any appropriate pleadings or motions.

19         3.     Counsel has had many professional obligations in the past two months,

20   including, among others, an opposition to a motion to dismiss filed on July 29, 2020,

21   in Cordova v. Baca, Case No. 3:19-cv-00388-MMD-CLB (D. Nev.); a motion to reopen

22   and a second amended petition filed on July 31, 2020, in Rosales v. Neven, Case No.

23   3:16-cv-00003-RCJ-WGC (D. Nev.); a reply in support of a petition filed on August 7,

24   2020, in Richard v. Howell, Case No. 2:18-cv-00181-KJD-NJK (D. Nev.); a reply brief

25   filed on August 18, 2020, in Cortinas v. Dzurenda, Case No 80417 (Nev. Sup. Ct.); a

26   reply brief filed on August 18, 2020, in Murray v. Thomas, Case No. 80392 (Nev. Sup.

27   Ct.); a reply in support of a petition, along with a proposed third amended petition


                                                 2
          Case 2:14-cv-02097-JCM-BNW Document 74
                                              75 Filed 09/21/20
                                                       09/25/20 Page 3 of 4




1    and a proposed supplemental opposition to a motion to dismiss, filed on August 24,
2    2020, in Melendez v. Neven, Case No. 2:15-cv-02076-JAD-VCF (D. Nev.); an opposi-
3    tion to a motion to dismiss filed on August 27, 2020, in Brown v. Baker, Case No. 3:19-
4    cv-00258-LRH-WGC (D. Nev.); and a motion to remand filed on September 10, 2020,
5    in Olsen v. Baker et al., Case No. 20-72428 (9th Cir.). In addition, counsel was out of
6    the office on vacation from August 31, 2020, until September 8, 2020.
7          4.     Counsel has many additional professional obligations in the next two
8    months, including, among others, an opening brief due on September 24, 2020, in
9    Bynoe v. Baca, Case No. 81083 (Nev. Sup. Ct.); an opening brief due on September
10   28, 2020, in Cortinas v. Gentry, Case No. 20-16227 (9th Cir.); an amended petition
11   due on October 2, 2020, in Hobson v. Howell, Case No. 2:20-cv-00503-KJD-NJK (D.
12   Nev.); a second amended petition due on October 2, 2020, in Fergason v. Williamson,
13   Case No. 2:19-cv-00946-GMN-BNW (D. Nev.); a reply in support of a petition due on
14   October 5, 2020, in Burch v. Baker, Case No. 2:17-cv-00656-MMD-VCF (D. Nev.); an
15   opening brief due on October 7, 2020, in Patterson v. Howell, Case No. 20-15635 (9th
16   Cir.); an amended petition due on October 26, 2020, in Marquez v. Neven, Case No.
17   3:20-cv-00073-RCJ-WGC (D. Nev.); an amended petition due on October 29, 2020, in
18   Crawford v. Howell, Case No. 2:19-cv-01574-RFB-BNW (D. Nev.); a reply in support
19   of a petition due on November 2, 2020, in Esquivel v. Williams, Case No. 2:17-cv-
20   02227-RFB-BNW (D. Nev.); and an evidentiary hearing scheduled for November 4,
21   2020, in Bradford v. Filson, Case No. 2:13-cv-01784-RFB-EJY (D. Nev.).
22         5.     Therefore, counsel seeks an additional thirty (30) days, up to and includ-
23   ing October 21, 2020, in which to file the opposition to the motion to dismiss. Since
24   appointment, this is counsel’s third request for an extension of time in which to file
25   the opposition (in an abundance of caution, he previously filed an extension request
26   on Ms. Carley’s behalf at the same time he requested appointment, but that occurred
27   prior to his actual appointment to this case).


                                                 3
          Case 2:14-cv-02097-JCM-BNW Document 74
                                              75 Filed 09/21/20
                                                       09/25/20 Page 4 of 4




1          6.     On September 21, 2020, counsel contacted Senior Deputy Attorney Gen-
2    eral Allison Herr and informed her of this request for an extension of time. As a
3    matter of professional courtesy, Ms. Herr had no objection to the request. Ms. Herr’s
4    lack of objection shouldn’t be considered as a waiver of any procedural defenses or
5    statute of limitations challenges, or construed as agreeing with the accuracy of the
6    representations in this motion.
7          7.     This motion is not filed for the purposes of delay, but in the interests of
8    justice, as well as in the interest of Ms. Carley. Counsel for Ms. Carley respectfully
9    requests this Court grant the motion and order Ms. Carley to file the opposition to
10   the motion to dismiss no later than October 21, 2020.
11

12         Dated September 21, 2020.
13                                                   Respectfully submitted,
14
                                                     Rene L. Valladares
15
                                                     Federal Public Defender
16
                                                     /s/Jeremy C. Baron
17
                                                     Jeremy C. Baron
18                                                   Assistant Federal Public Defender

19

20                                                   IT   IS SO ORDERED:

21

22
                                                     ______________________________
23                                                   United States District Judge
24                                                           September 25, 2020
                                                     Dated: ________________________
25

26

27


                                                 4
